           Case 3:20-mj-71739-MAG Document 5 Filed 01/04/21 Page 1 of 1



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 6   HARLAN KELLY, JR.
                                 UNITED STATES DISTRICT COURT
 7
                                NORTHERN DISTRICT OF CALIFORNIA
 8
                                      SAN FRANCISCO DIVISION
 9

10
     UNITED STATES OF AMERICA,                         Case No.: 3:20-MJ-71739-MAG
11
                   Plaintiff,                          NOTICE OF CHANGE OF E-MAIL
12                                                     ADDRESS
             v.
13
     HARLAN KELLY, JR.,
14
                   Defendant.
15

16

17          Notice is hereby given that effective immediately, attorney Brian Getz’s email for all
18   correspondence, filing, and service purposes is now: brian@briangetzlaw.com.
19   Dated: January 4, 2021                      Respectfully submitted,
20                                               LAW OFFICES OF BRIAN H GETZ

21                                                /s/ Brian H Getz
                                                 BRIAN H GETZ
22
                                                 Attorney for Defendant
23                                               HARLAN KELLY, JR.

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                                 NOTICE OF CHANGE OF E-MAIL ADDRESS
                                      CASE NO. 3:20-MJ-71739-MAG
